        Case 2:21-cv-20706-MEF-ESK Document 6-5 Filed 06/16/22 Page 1 of 1 PageID: 71


                                                                                              Daniel Szalkiewicz <daniel@lawdss.com>



Fwd: Positive COVID case in room 210
1 message

Susan Herman <sherman@ywhi.org>                                                                             Wed, May 18, 2022 at 9:22 PM
To: D                                                                                             >



 ---------- Forwarded message ---------
 From: Susan Herman <sherman@ywhi.org>
 Date: Wed, May 18, 2022 at 8:21 PM
 Subject: Positive COVID case in room 210
 To:
 Cc: Anna Diaz <adiaz@ywhi.org>, Emely Perez <eperez@ywhi.org>, Laura Sanchez <lsanchez@ywhi.org>


 Dear Families of children in room 210,
 We just heard that a member of the class 210 community, who was in school today, has tested positive for COVID19.
 Unfortunately, the class will need to quarantine for five days.
 Please see the most recent protocol for the shortened quarantine period.
 Children ages two through five years old who were exposed to someone who tested positive for COVID19 only need to
 quarantine for 5 days.
 The children can return to school on Day 6 if they have a negative COVID-19 test from a health care provider on Day 5 OR two
 negative home test results from Day 4 and Day 5 and have no COVID-like symptoms. The children should continue wearing
 well-fitting masks upon their return to the program.
 Everyone who tests negative and has no symptoms can return to school on Tuesday, May 24th.
 We will transition to remote learning in the meantime.
 The teachers will contact you with links to virtual learning activities.

 --
 Susan Herman
 Director of Early Childhood Services
 YM & YWHA of Washington Hts/Inwood
 54 Nagle Avenue
 New York, NY 10040
 212-569-6200, ext 224
 Direct line: 646-738-6090
 www.ywhi.org




 Stay connected on Facebook, Instagram, Twitter, and LinkedIn!

 This message is intended only for the addressee(s) and may contain information that is considered sensitive or confidential. If you have
 received this message in error, please notify the sender immediately and then delete the misdirected e-mail. Thank you. Privacy Officer,
 YM&YWHA of Washington Heights & Inwood, Inc.
